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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                    )
In re:                                              )          Chapter 11
                                                    )
BONITZ BROTHERS, INC.,1                             )          Case No. 19-______ (___)
                                                    )
                                                    )
                          Debtor.                   )
                                                    )
Employer Tax I.D. No. XX-XXXXXXX                    )
                                                    )

                                                    )
In re:                                              )          Chapter 11
                                                    )
ELLETT BROTHERS, LLC,                               )          Case No. 19-______ (___)
                                                    )
                          Debtor.                   )
                                                    )
Employer Tax I.D. No. XX-XXXXXXX                    )
                                                    )

                                                    )
In re:                                              )          Chapter 11
                                                    )
EVANS SPORTS, INC.,                                 )          Case No. 19-______ (___)
                                                    )
                                                    )
                          Debtor.                   )
                                                    )
Employer Tax I.D. No. XX-XXXXXXX                    )
                                                    )

                                                    )
In re:                                              )          Chapter 11
                                                    )
JERRY’S SPORTS, INC.,                               )          Case No. 19-______ (___)
                                                    )

1
 The Debtors, together with the last four digits of each Debtor’s federal tax identification numbers, are: Bonitz
Brothers, Inc. (4441); Ellett Brothers, LLC (7069); Evans Sports, Inc. (2654); Jerry’s Sports, Inc. (4289); Outdoor
Sports Headquarters, Inc. (4548); Quality Boxes, Inc. (0287); Simmons Guns Specialties, Inc. (4364); SportCo
Holdings, Inc. (0355); and United Sporting Companies, Inc. (5758). The location of the Debtors’ corporate
headquarters and the service address for all Debtors is 267 Columbia Ave., Chapin, SC 29036.



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                                     )
                    Debtor.          )
                                     )
Employer Tax I.D. No. XX-XXXXXXX     )
                                     )
                                     )

                                     )
In re:                               )           Chapter 11
                                     )
OUTDOOR SPORTS                       )           Case No. 19-______ (___)
HEADQUARTERS, INC.,                  )
                                     )
                    Debtor.          )
                                     )
Employer Tax I.D. No. XX-XXXXXXX     )
                                     )

                                     )
In re:                               )           Chapter 11
                                     )
QUALITY BOXES, INC.,                 )           Case No. 19-______ (___)
                                     )
                                     )
                    Debtor.          )
                                     )
Employer Tax I.D. No. XX-XXXXXXX     )
                                     )

                                     )
In re:                               )           Chapter 11
                                     )
SIMMONS GUN SPECIALTIES, INC.,       )           Case No. 19-______ (___)
                                     )
                                     )
                    Debtor.          )
                                     )
Employer Tax I.D. No. XX-XXXXXXX     )
                                     )

                                     )
In re:                               )           Chapter 11
                                     )
SPORTCO HOLDINGS, INC.,              )           Case No. 19-______ (___)
                                     )
                                     )
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                         Debtor.                 )
                                                 )
Employer Tax I.D. No. XX-XXXXXXX                 )
                                                 )

                                                 )
In re:                                           )          Chapter 11
                                                 )
UNITED SPORTING COMPANIES,                       )          Case No. 19-______ (___)
INC.,                                            )
                                                 )
                         Debtor.                 )
                                                 )
Employer Tax I.D. No. XX-XXXXXXX                 )
                                                 )

              DEBTORS’ MOTION FOR ENTRY OF AN ORDER DIRECTING
              JOINT ADMINISTRATION OF RELATED CHAPTER 11 CASES

         SportCo Holdings, Inc. and certain of its above-captioned wholly-owned direct and

indirect subsidiaries, as debtors and debtors in possession (collectively, the “Debtors”) in the

above-captioned chapter 11 cases (these “Chapter 11 Cases”), hereby submit this motion (the

“Motion”) for entry of an order, substantially in the form attached hereto as Exhibit A (the

“Order”), pursuant to section 105(a) of title 11 of the United States Bankruptcy Code (the

“Bankruptcy Code”); Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”); and Local Rule 1015-1 of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

directing the joint administration of these Chapter 11 Cases and the consolidation thereof for

procedural purposes only. In support of this Motion, the Debtors rely upon the Declaration of

Bradley P. Johnson in Support of Debtor’s Chapter 11 Petitions and First Day Pleadings (the

“First Day Declaration”).2 In support of this Motion, the Debtors respectfully state as follows:


2
 Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the First Day
Declaration.
                                                      3

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                                         JURISDICTION

         1.    This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated as of February 29, 2012. This is a core proceeding pursuant to 28

U.S.C. § 157(b).

         2.    Venue of these Chapter 11 Cases and the Motion in this district is proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.    The statutory bases for the relief requested herein are section 105(a) Bankruptcy

Code, Rule 1015(b) Bankruptcy Rules, and Rule 1015-1 of the Local Rules.

         4.    Pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a final

judgment or order with respect to this Motion if it is determined that the Court would lack Article

III jurisdiction to enter such final order or judgment absent consent of the parties.

                                         BACKGROUND

         5.    On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code.

         6.    The Debtors continue to operate their businesses and manage their properties as

debtors in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

         7.    No trustee, examiner, creditors’ committee, or other official committee has been

appointed in these Chapter 11 Cases.

         8.    A description of the Debtors’ businesses, capital structure, and the circumstances

leading to these Chapter 11 Cases is set forth in the First Day Declaration filed contemporaneously

herewith and incorporated herein by reference.




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                                       RELIEF REQUESTED

         9.     By this Motion, the Debtors seek entry of an order directing the joint administration

of these Chapter 11 Cases and the consolidation thereof for procedural purposes only. Many of the

motions, applications, hearings, and orders that will arise in these Chapter 11 Cases will affect

most, if not all, of the Debtors jointly. For that reason, the Debtors respectfully submit that their

interests, as well as the interests of their creditors and other parties in interest, would be best served

by the joint administration of these Chapter 11 Cases for procedural purposes only.

         10.    The Debtors further seek entry of an order directing the Clerk of the Court to

maintain one file and one docket for all of these Chapter 11 Cases under the case of SportCo

Holdings, Inc. In addition, the Debtors seek the Court’s direction that separate docket entries be

made on the dockets of each Chapter 11 Case (except that of SportCo Holdings, Inc.) substantially

as follows:

                “An order has been entered in this case directing the procedural
                consolidation and joint administration of the chapter 11 cases of
                SportCo Holdings, Inc. and its affiliates that have concurrently
                commenced chapter 11 cases. The docket in the chapter 11 case of
                SportCo Holdings, Inc., Case No. 19-_____ (____) should be
                consulted for all matters affecting this case.”




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         11.     The Debtors further request that the caption of these Chapter 11 Cases be modified

as follows to reflect their joint administration:

                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                    )
In re:                                              )          Chapter 11
                                                    )
SPORTCO HOLDINGS, INC., et al.,1                    )          Case No. 19-______ (___)
                                                    )
                                                    )
                          Debtors.                  )          (Jointly Administered)
                                                    )
1
 The Debtors, together with the last four digits of each Debtor’s federal tax identification numbers, are: Bonitz
Brothers, Inc. (4441); Ellett Brothers, LLC (7069); Evans Sports, Inc. (2654); Jerry’s Sports, Inc. (4289); Outdoor
Sports Headquarters, Inc. (4548); Quality Boxes, Inc. (0287); Simmons Guns Specialties, Inc. (4364); SportCo
Holdings, Inc. (0355); and United Sporting Companies, Inc. (5758). The location of the Debtors’ corporate
headquarters and the service address for all Debtors is 267 Columbia Ave., Chapin, SC 29036.

                                  BASIS FOR RELIEF REQUESTED

         12.     Pursuant to Bankruptcy Rule 1015(b), if two or more petitions are pending in the

same court by or against a debtor and an affiliate, “the court may order a joint administration of the

estates.” Local Rule 1015-1 further provides for joint administration of chapter 11 cases when

“the joint administration of two or more cases pending in [the] Court under title 11 is warranted

and will ease the administrative burden for the Court and the parties.” Each Debtor is a

wholly-owned direct or indirect subsidiary of SportCo Holdings, Inc. The Debtors, therefore, are

“affiliates” within the meaning of Bankruptcy Code section 101(2) and, accordingly, this Court

has the authority to grant the requested relief pursuant to Bankruptcy Rule 1015(b) and Local Rule

1015-1.

         13.     Joint administration of these Chapter 11 Cases will ease the administrative burden

on this Court and all parties in interest. Joint administration of these Chapter 11 Cases will not


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prejudice creditors or other parties in interest because joint administration is purely procedural and

will not impact the parties’ substantive rights.

         14.   Courts in this district routinely order joint administration of related chapter 11

cases for procedural purposes. See, e.g., In re ExGen Texas Power, LLC, Case No. 17-12377

(BLS) (Bankr. D. Del. Nov. 8, 2017) [Docket No. 43]; In re Rent-A-Wreck of America, Case No.

17-11592 (LSS) (Bankr. D. Del. July 28, 2017) [Docket No. 25]; In re Modular Space Holdings,

Inc., Case No. 16-12825 (KJC) (Bankr. D. Del. Dec. 22, 2016) [Docket No. 66]; In re ProNerve

Holdings, LLC, Case No. 15-10373 (KJC) (Bankr. D. Del. Feb. 26, 2015) [Docket No. 30]; In re

Entegra Power Grp. LLC, Case No. 14-11859 (PJW) (Bankr. D. Del. Aug. 6, 2014) [Docket No.

36]; In re Source Home Entm’t, LLC, Case No. 14-11553 (KG) (Bankr. D. Del. Jun. 24, 2014)

[Docket No. 35]. Accordingly, based on the foregoing facts and authorities, the Debtors submit

that the relief requested in this Motion should be granted.

                                             NOTICE

         15.   The Debtors have provided notice of this Motion to: (a) the Office of the United

States Trustee for the District of Delaware; (b) the entities listed on the Consolidated List of

Creditors Holding the 30 Largest Unsecured Claims filed pursuant to Bankruptcy Rule 1007(d);

(c) the DIP Agent; (d) the Prepetition Lender Agents; (e) the Internal Revenue Service; (f) any

party that has requested notice pursuant to Bankruptcy Rule 2002; and (g) all parties entitled to

notice pursuant to Local Rule 9013-1(m). The Debtors submit that, under the circumstances, no

other or further notice is required.

                                       NO PRIOR REQUEST

         16.   No prior motion for the relief requested herein has been made to this or any other

court.


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         WHEREFORE, the Debtors respectfully request that the Court enter an order, substantially

in the form attached hereto as Exhibit A, (a) directing the joint administration of these Chapter 11

Cases and consolidating them for procedural purposes only pursuant to Bankruptcy Code section

105(a), Bankruptcy Rule 1015(b), and Local Rule 1015-1; and (b) granting such other and further

relief as the Court deems appropriate.

Dated: June 10, 2019                      Respectfully submitted,
Wilmington, Delaware
                                          POLSINELLI PC

                                           /s/ Christopher A. Ward
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                                          Proposed Counsel to the Debtors and
                                          Debtors in Possession




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